
*589OPINION.
SteRNhagen :
The difficulty with this case is that the testimony is so vague that there is no way of determining what the correct depreciation was during the taxable years in question. The purchase of equipment over a period of five years from 1902 to 1907 at an approximate cost of $19,000 does not of itself indicate anything in respect of its probable life. If a 20 per cent rate were applied as the petitioner’s witnesses testified in respect of the taxable year, the property was of little or no depreciable value long prior to 1917. If there was any depreciation in the intervening years, the record is silent on the subject and we must assume that the Commissioner had the facts. Without such information there is no basis upon which to compute the annual deduction. It was testified that in the taxable year in question the equipment was in disuse and that, instead of the normal rate of 10 to 16 per cent, a rate of 20 to 25 per cent would be *590proper. Obviously, this can not be adopted as a general principle and there is nothing more specific which can be applied to the particular property here in question.
Judgment will be entered on 15 days’ notice, under Bule 50.
